                                                                                                                                         Case 8:14-bk-10619-CPM                               Doc 1           Filed 09/10/14                    Page 1 of 63
                                                                                                        B1 (Official Form 1) (04/13)
                                                                                                                                                    United States Bankruptcy Court                                                                            Voluntary Petition
                                                                                                                                                       Middle District of Florida
                                                                                                         Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                          LEON, ALVARO LEONARDO
                                                                                                         All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                         (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                          None

                                                                                                        Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                        (if more than one, state all): 7801                                               (if more than one, state all):

                                                                                                         Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                          14436 REUTER STRASSE CIR 2
                                                                                                          TAMPA, FL                                                           ZIPCODE                                                                                             ZIPCODE
                                                                                                                                                                                   33623
                                                                                                         County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                          Hillsborough
                                                                                                         Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):
                                                                                                          PO BOX 320763
                                                                                                          TAMPA, FL
                                                                                                                                                                             ZIPCODE                                                                                              ZIPCODE
                                                                                                                                                                                   33679
                                                                                                         Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                  ZIPCODE

                                                                                                                       Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
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                                                                                                                   (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                       (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                             Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                             See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                             Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                             Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                             Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                             check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                  Chapter 13
                                                                                                                                                                                Other N.A.                                                                   Nonmain Proceeding
                                                                                                                           Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                      (Check box, if applicable)                                    (Check one box)
                                                                                                         Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                          Debts are
                                                                                                                                                                                    Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                          primarily
                                                                                                         Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                          business debts.
                                                                                                         regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                  personal, family, or
                                                                                                                                                                                                                                  household purpose."
                                                                                                                                     Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                 Check one box:
                                                                                                                Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                        Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                       on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                   Check all applicable boxes
                                                                                                                Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                       A plan is being filed with this petition.
                                                                                                                attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                       classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                          Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                  COURT USE ONLY
                                                                                                            Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                            Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                            distribution to unsecured creditors.
                                                                                                        Estimated Number of Creditors

                                                                                                         1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                          5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                        Estimated Assets

                                                                                                        $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                        $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                         million       million          million          million            million
                                                                                                        Estimated Liabilities

                                                                                                        $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                        $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                          million      million          million          million            million
                                                                                                                              Case
                                                                                                        B1 (Official Form 1) (04/13)             8:14-bk-10619-CPM                       Doc 1         Filed 09/10/14                Page 2 of 63                                  Page 2
                                                                                                        Voluntary Petition                                                                           Name of Debtor(s):
                                                                                                         (This page must be completed and filed in every case)                                       ALVARO LEONARDO LEON
                                                                                                                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                         Location                                                                             Case Number:                                       Date Filed:
                                                                                                         Where Filed:          NONE

                                                                                                         Location                                                                             Case Number:                                       Date Filed:
                                                                                                         Where Filed:
                                                                                                                               N.A.
                                                                                                                   Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                         Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                         District:                                                                             Relationship:                                     Judge:


                                                                                                                                        Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                        (To be completed if debtor is an individual
                                                                                                        (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                        10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                        Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                        relief under chapter 11)                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                 available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                 Exhibit A is attached and made a part of this petition.                         X        /s/ Walter Sowa, III, Esq.                           09/10/2014
                                                                                                                                                                                                      Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                      Exhibit C
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                                                                                                        Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                 Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                 No.


                                                                                                                                                                                       Exhibit D
                                                                                                          (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                     Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                         If this is a joint petition:
                                                                                                                     Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                    Information Regarding the Debtor - Venue
                                                                                                                                                                                 (Check any applicable box)
                                                                                                                                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                 preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                 has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                 this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                           Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                  (Check all applicable boxes)
                                                                                                                                 Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                 (Name of landlord that obtained judgment)


                                                                                                                                                                                  (Address of landlord)
                                                                                                                                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                 entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                 filing of the petition.
                                                                                                                                 Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                                    Case 8:14-bk-10619-CPM                             Doc 1        Filed 09/10/14                   Page 3 of 63
                                                                                                        B1 (Official Form 1) (04/13)                                                                                                                                                    Page 3
                                                                                                        Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                        (This page must be completed and filed in every case)                                 ALVARO LEONARDO LEON
                                                                                                                                                                                       Signatures
                                                                                                                    Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                          I declare under penalty of perjury that the information provided in this petition
                                                                                                          is true and correct.
                                                                                                          [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                          has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                          chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                          available under each such chapter, and choose to proceed under chapter 7.
                                                                                                          [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                          petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                          I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                          Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                          Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                          title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                          recognition of the foreign main proceeding is attached.
                                                                                                          X /s/ ALVARO LEONARDO LEON
                                                                                                              Signature of Debtor                                                                X
                                                                                                                                                                                                     (Signature of Foreign Representative)
                                                                                                          X
                                                                                                              Signature of Joint Debtor

                                                                                                                                                                                                      (Printed Name of Foreign Representative)
                                                                                                               Telephone Number (If not represented by attorney)
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                                                                                                               09/10/2014
                                                                                                                                                                                                       (Date)
                                                                                                               Date

                                                                                                                               Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                         X       /s/ Walter Sowa, III, Esq.
                                                                                                              Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                              WALTER SOWA, III, ESQ. 0102220                                                    and have provided the debtor with a copy of this document and the notices and
                                                                                                              Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                              Law Office of Walter Sowa, III                                                    setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                              Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                              435 12th Street West                                                              document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                              Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                              Suite 206Bradenton, FL 34205
                                                                                                                                                                                                Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                              (941) 840-0820
                                                                                                             Telephone Number
                                                                                                                                                                                                Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                              09/10/2014                                                                        state the Social Security number of the officer, principal, responsible person or
                                                                                                            Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                         *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                         certification that the attorney has no knowledge after an inquiry that the
                                                                                                         information in the schedules is incorrect.                                              Address

                                                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                                                           I declare under penalty of perjury that the information provided in this petition
                                                                                                           is true and correct, and that I have been authorized to file this petition on       X
                                                                                                           behalf of the debtor.

                                                                                                           The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                           United States Code, specified in this petition.
                                                                                                                                                                                                   Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                   person, or partner whose Social Security number is provided above.
                                                                                                         X
                                                                                                              Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                   assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                   not an individual:
                                                                                                              Printed Name of Authorized Individual
                                                                                                                                                                                                   If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                   conforming to the appropriate official form for each person.
                                                                                                              Title of Authorized Individual
                                                                                                                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                   and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                             Date
                                                                                                                                                                                                   imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                             Case 8:14-bk-10619-CPM         Doc 1   Filed 09/10/14      Page 4 of 63

                                                                                                        B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                                                                                                     Middle District of Florida




                                                                                                              ALVARO LEONARDO LEON
                                                                                                        In re______________________________________                               Case No._____________
                                                                                                                     Debtor(s)                                                          (if known)


                                                                                                                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                   CREDIT COUNSELING REQUIREMENT

                                                                                                                Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                        credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                        case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                        filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                        you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                        required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                        collection activities.

                                                                                                               Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                        must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                        any documents as directed.

                                                                                                               1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                        from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                        administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                        performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                        services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                        developed through the agency.

                                                                                                                2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                        from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                        administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                        performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                        the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                        services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                        no later than 14 days after your bankruptcy case is filed.
                                                                                                                             Case 8:14-bk-10619-CPM             Doc 1   Filed 09/10/14   Page 5 of 63
                                                                                                        B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                                  Page 2


                                                                                                                3. I certify that I requested credit counseling services from an approved agency but
                                                                                                        was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                        following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                        so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                               If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                        counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                        promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                        copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                        requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                        can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                        be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                        without first receiving a credit counseling briefing.

                                                                                                               4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                        applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                               illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                               decisions with respect to financial responsibilities.);
                                                                                                                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                               extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                               briefing in person, by telephone, or through the Internet.);
                                                                                                                       Active military duty in a military combat zone.

                                                                                                               5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                        counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                               I certify under penalty of perjury that the information provided above is true and
                                                                                                        correct.



                                                                                                                                     Signature of Debtor:             /s/ ALVARO LEONARDO LEON
                                                                                                                                                                     ALVARO LEONARDO LEON

                                                                                                                                                                  09/10/2014
                                                                                                                                                         Date: _________________
                                                                                                                Case 8:14-bk-10619-CPM            Doc 1     Filed 09/10/14      Page 6 of 63




                                                                                                        B6 Cover (Form 6 Cover) (12/07)



                                                                                                        FORM 6. SCHEDULES

                                                                                                        Summary of Schedules
                                                                                                        Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                        Schedule A - Real Property
                                                                                                        Schedule B - Personal Property
                                                                                                        Schedule C - Property Claimed as Exempt
                                                                                                        Schedule D - Creditors Holding Secured Claims
                                                                                                        Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                        Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                        Schedule G - Executory Contracts and Unexpired Leases
                                                                                                        Schedule H - Codebtors
                                                                                                        Schedule I - Current Income of Individual Debtor(s)
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                                                                                                        Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                        Unsworn Declaration under Penalty of Perjury


                                                                                                        GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                        amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                        identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                        the case number should be left blank

                                                                                                        Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                        claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                        A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                        which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                        the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                        transactions, each claim should be scheduled separately.

                                                                                                        Review the specific instructions for each schedule before completing the schedule.
                                                                                                                                    Case 8:14-bk-10619-CPM
                                                                                                        B6A (Official Form 6A) (12/07)
                                                                                                                                                                                Doc 1        Filed 09/10/14                             Page 7 of 63


                                                                                                        In re    ALVARO LEONARDO LEON                                                                  Case No.
                                                                                                                                   Debtor                                                                                                    (If known)

                                                                                                                                                        SCHEDULE A - REAL PROPERTY
                                                                                                           Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                        tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                        the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                        “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                        “Description and Location of Property.”

                                                                                                          Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                        Unexpired Leases.

                                                                                                            If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                        claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                           If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                        Property Claimed as Exempt.




                                                                                                                                                                                                              HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                                       CURRENT VALUE
                                                                                                                                                                                                                                         OF DEBTOR’S
                                                                                                                      DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                             OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                       DEDUCTING ANY        CLAIM
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                                                                                                                                                                                                                                       SECURED CLAIM
                                                                                                                                                                                                                                        OR EXEMPTION



                                                                                                         CONDOMINIUM                                                   Fee Simple                                                            35,000.00           None
                                                                                                         14436 REUTER STRASSE CIR 2
                                                                                                         TAMPA, FL 33623




                                                                                                                                                                                                      Total
                                                                                                                                                                                                                                             35,000.00

                                                                                                                                                                                                      (Report also on Summary of Schedules.)
                                                                                                                                            Case 8:14-bk-10619-CPM                Doc 1     Filed 09/10/14           Page 8 of 63
                                                                                                        B6B (Official Form 6B) (12/07)


                                                                                                        In re     ALVARO LEONARDO LEON                                                               Case No.
                                                                                                                                          Debtor                                                                             (If known)

                                                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                             Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                        place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                        identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                        community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                        individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                            Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                        Unexpired Leases.

                                                                                                              If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                        If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                        "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                                                 N                                                                                           IN PROPERTY,
                                                                                                                    TYPE OF PROPERTY                             O              DESCRIPTION AND LOCATION                                                       WITHOUT
                                                                                                                                                                 N                    OF PROPERTY                                                          DEDUCTING ANY
                                                                                                                                                                 E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                            OR EXEMPTION
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                                                                                                          1. Cash on hand.                                           CASH                                                                                           25.00
                                                                                                                                                                     14436 REUTER STRASSE CIR 2
                                                                                                                                                                     TAMPA, FL

                                                                                                          2. Checking, savings or other financial accounts,          GROW FINANCIAL CHECKING ACCOUNT ENDING                                                          0.00
                                                                                                          certificates of deposit, or shares in banks, savings
                                                                                                          and loan, thrift, building and loan, and homestead         878
                                                                                                          associations, or credit unions, brokerage houses,
                                                                                                          or cooperatives.
                                                                                                                                                                     P.O. BOX 89988
                                                                                                                                                                     TAMPA, FLORIDA 33689-0417


                                                                                                                                                                     BANK OF AMERICA                                                                               400.00
                                                                                                                                                                     BANK OF AMERICA
                                                                                                                                                                     TAMPA, FL

                                                                                                          3. Security deposits with public utilities,            X
                                                                                                          telephone companies, landlords, and others.

                                                                                                          4. Household goods and furnishings, including              DESK WITH THREE CHAIRS                                                                         10.00
                                                                                                          audio, video, and computer equipment.
                                                                                                                                                                     14436 REUTER STRASSE CIR 2
                                                                                                                                                                     TAMPA, FL 33623

                                                                                                                                                                     DINING ROOM TABLE                                                                              10.00
                                                                                                                                                                     14436 REUTER STRASSE CIR 2
                                                                                                                                                                     TAMPA, FL 33623

                                                                                                                                                                     TWO LAMPS                                                                                       5.00
                                                                                                                                                                     14436 REUTER STRASSE CIR 2
                                                                                                                                                                     TAMPA, FL 33623
                                                                                                                                 Case
                                                                                                        B6B (Official Form 6B) (12/07)     8:14-bk-10619-CPM
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                                                                                                        In re     ALVARO LEONARDO LEON                                                          Case No.
                                                                                                                                          Debtor                                                               (If known)

                                                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                           DEBTOR’S INTEREST
                                                                                                                                                               N                                                                              IN PROPERTY,
                                                                                                                    TYPE OF PROPERTY                           O              DESCRIPTION AND LOCATION                                          WITHOUT
                                                                                                                                                               N                    OF PROPERTY                                             DEDUCTING ANY
                                                                                                                                                               E                                                                            SECURED CLAIM
                                                                                                                                                                                                                                             OR EXEMPTION



                                                                                                                                                                   BED                                                                               25.00
                                                                                                                                                                   14436 REUTER STRASSE CIR 2
                                                                                                                                                                   TAMPA, FL 33623

                                                                                                                                                                   NIGHT STAND                                                                        0.00
                                                                                                                                                                   14436 REUTER STRASSE CIR 2
                                                                                                                                                                   TAMPA, FL 33623

                                                                                                                                                                   NIGHT STAND                                                                        5.00
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                                                                                                                                                                   14436 REUTER STRASSE CIR 2
                                                                                                                                                                   TAMPA, FL 33623

                                                                                                                                                                   TWO BOOKSHELVES                                                                   10.00
                                                                                                                                                                   14436 REUTER STRASSE CIR 2
                                                                                                                                                                   TAMPA, FL 33623

                                                                                                          5. Books. Pictures and other art objects,                PERSONAL BOOKS                                                                   100.00
                                                                                                          antiques, stamp, coin, record, tape, compact disc,
                                                                                                          and other collections or collectibles.                   14436 REUTER STRASSE CIR 2
                                                                                                                                                                   TAMPA, FL 33623

                                                                                                                                                                   FAMILY PHOTOGRAPHS                                                                 1.00
                                                                                                                                                                   14436 REUTER STRASSE CIR 2
                                                                                                                                                                   TAMPA, FL 33623

                                                                                                          6. Wearing apparel.                                      PERSONAL ITEMS                                                                   100.00
                                                                                                                                                                   14436 REUTER STRASSE CIR 2
                                                                                                                                                                   TAMPA, FL 33623

                                                                                                          7. Furs and jewelry.                                 X
                                                                                                          8. Firearms and sports, photographic, and other      X
                                                                                                          hobby equipment.

                                                                                                          9. Interests in insurance policies. Name             X
                                                                                                          insurance company of each policy and itemize
                                                                                                          surrender or refund value of each.

                                                                                                          10. Annuities. Itemize and name each issuer.         X
                                                                                                                                 Case-- Cont.
                                                                                                        B6B (Official Form 6B) (12/07)  8:14-bk-10619-CPM                       Doc 1     Filed 09/10/14    Page 10 of 63


                                                                                                        In re     ALVARO LEONARDO LEON                                                           Case No.
                                                                                                                                          Debtor                                                                (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                                 N                                                                             IN PROPERTY,
                                                                                                                    TYPE OF PROPERTY                             O             DESCRIPTION AND LOCATION                                          WITHOUT
                                                                                                                                                                 N                   OF PROPERTY                                             DEDUCTING ANY
                                                                                                                                                                 E                                                                           SECURED CLAIM
                                                                                                                                                                                                                                              OR EXEMPTION


                                                                                                          11. Interests in an education IRA as defined in 26     X
                                                                                                          U.S.C. § 530(b)(1) or under a qualified State
                                                                                                          tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                          Give particulars. (File separately the record(s) of
                                                                                                          any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                          12. Interests in IRA, ERISA, Keogh, or other           X
                                                                                                          pension or profit sharing plans. Give particulars.

                                                                                                          13. Stock and interests in incorporated and            X
                                                                                                          unincorporated businesses. Itemize.

                                                                                                          14. Interests in partnerships or joint ventures.       X
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                                                                                                          Itemize.

                                                                                                          15. Government and corporate bonds and other           X
                                                                                                          negotiable and non-negotiable instruments.

                                                                                                          16. Accounts receivable.                               X
                                                                                                          17. Alimony, maintenance, support, and property        X
                                                                                                          settlement to which the debtor is or may be
                                                                                                          entitled. Give particulars.

                                                                                                          18. Other liquidated debts owing debtor including      X
                                                                                                          tax refunds. Give particulars.

                                                                                                          19. Equitable or future interests, life estates, and   X
                                                                                                          rights or powers exercisable for the benefit of the
                                                                                                          debtor other than those listed in Schedule A - Real
                                                                                                          Property.

                                                                                                          20. Contingent and noncontingent interests in          X
                                                                                                          estate or a decedent, death benefit plan, life
                                                                                                          insurance policy, or trust.

                                                                                                          21. Other contingent and unliquidated claims of        X
                                                                                                          every nature, including tax refunds, counterclaims
                                                                                                          of the debtor, and rights of setoff claims. Give
                                                                                                          estimated value of each.

                                                                                                          22. Patents, copyrights, and other intellectual        X
                                                                                                          property. Give particulars.

                                                                                                          23. Licenses, franchises, and other general            X
                                                                                                          intangibles. Give particulars.

                                                                                                          24. Customer lists or other compilations               X
                                                                                                          containing personally identifiable information (as
                                                                                                          defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                          debtor by individuals in connection with obtaining
                                                                                                          a product or service from the debtor primarily for
                                                                                                          personal, family, or household purposes.

                                                                                                          25. Automobiles, trucks, trailers, and other               2005 FORD EXPLORER                                                            3,040.00
                                                                                                          vehicles and accessories.
                                                                                                                               Case--8:14-bk-10619-CPM
                                                                                                        B6B (Official Form 6B) (12/07) Cont.                                 Doc 1    Filed 09/10/14             Page 11 of 63


                                                                                                        In re     ALVARO LEONARDO LEON                                                          Case No.
                                                                                                                                          Debtor                                                                         (If known)

                                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                       (Continuation Sheet)




                                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                                             N                                                                                               IN PROPERTY,
                                                                                                                    TYPE OF PROPERTY                         O              DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                             N                    OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                             E                                                                                             SECURED CLAIM
                                                                                                                                                                                                                                                            OR EXEMPTION



                                                                                                                                                                 14436 REUTER STRASSE CIR 2
                                                                                                                                                                 TAMPA, FL 33623

                                                                                                                                                                 TRAILER, HOMEMADE (SCRAP)                                                                           5.00
                                                                                                                                                                 14436 REUTER STRASSE CIR 2
                                                                                                                                                                 TAMPA, FL 33623

                                                                                                          26. Boats, motors, and accessories.                X
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                                                                                                          27. Aircraft and accessories.                      X
                                                                                                          28. Office equipment, furnishings, and supplies.       LAPTOP COMPUTER WITH CANON PRINTER                                                                 25.00
                                                                                                                                                                 14436 REUTER STRASSE CIR 2
                                                                                                                                                                 TAMPA, FL 33623

                                                                                                          29. Machinery, fixtures, equipment, and supplies   X
                                                                                                          used in business.

                                                                                                          30. Inventory.                                     X
                                                                                                          31. Animals.                                       X
                                                                                                          32. Crops - growing or harvested. Give             X
                                                                                                          particulars.

                                                                                                          33. Farming equipment and implements.              X
                                                                                                          34. Farm supplies, chemicals, and feed.            X
                                                                                                          35. Other personal property of any kind not            TREADMILL, NON-OPERATIONAL                                                                          1.00
                                                                                                          already listed. Itemize.
                                                                                                                                                                 14436 REUTER STRASSE CIR 2
                                                                                                                                                                 TAMPA, FL 33623




                                                                                                                                                                                0                                                                         $
                                                                                                                                                                                       continuation sheets attached        Total                                 3,762.00
                                                                                                                                                                                       (Include amounts from any continuation
                                                                                                                                                                                         sheets attached. Report total also on
                                                                                                                                                                                               Summary of Schedules.)
                                                                                                                                   Case 8:14-bk-10619-CPM                   Doc 1      Filed 09/10/14          Page 12 of 63
                                                                                                          B6C (Official Form 6C) (04/13)


                                                                                                        In re    ALVARO LEONARDO LEON                                                            Case No.
                                                                                                                                  Debtor                                                                               (If known)

                                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                          Debtor claims the exemptions to which debtor is entitled under:
                                                                                                          (Check one box)

                                                                                                                11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                $155,675*.
                                                                                                                11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                   CURRENT
                                                                                                                                                                       SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                    DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                        EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                           2005 FORD EXPLORER                              Fl Const Art10-4(a)(2)                               1,000.00                    3,040.00
                                                                                                                                                           FSA §222.25                                          1,000.00

                                                                                                           BANK OF AMERICA                                 FSA §222.11                                            400.00                     400.00

                                                                                                           CONDOMINIUM                                     Fl Const Art10-4(a)(1)                              35,000.00                  35,000.00
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                                                                                                         *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                                Case 8:14-bk-10619-CPM                                         Doc 1    Filed 09/10/14                         Page 13 of 63

                                                                                                        B6D (Official Form 6D) (12/07)

                                                                                                                 ALVARO LEONARDO LEON
                                                                                                        In re _______________________________________________,                                                         Case No. _________________________________
                                                                                                                                      Debtor                                                                                                                          (If known)

                                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                  State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                        by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                        useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                        such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                   List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                        address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                        §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                        include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                        husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                        "Husband, Wife, Joint, or Community."
                                                                                                                  If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                        labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                        one of these three columns.)
                                                                                                                  Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                        labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                        Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                        the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                  Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                  AMOUNT
                                                                                                                                                                  HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                                                                           DATE CLAIM WAS INCURRED,                                                  OF
                                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                     DISPUTED
                                                                                                                                                                     ORCOMMUNITY




                                                                                                                   CREDITOR’S NAME,
                                                                                                                    MAILING ADDRESS                                                           NATURE OF LIEN, AND                                                  CLAIM           UNSECURED
                                                                                                                  INCLUDING ZIP CODE,                                                          DESCRIPTION AND                                                    WITHOUT           PORTION,
                                                                                                                 AND ACCOUNT NUMBER                                                           VALUE OF PROPERTY                                                  DEDUCTING           IF ANY
                                                                                                                   (See Instructions Above.)                                                    SUBJECT TO LIEN                                                   VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL


                                                                                                        ACCOUNT NO.




                                                                                                                                                                                         VALUE $
                                                                                                        ACCOUNT NO.




                                                                                                                                                                                         VALUE $
                                                                                                        ACCOUNT NO.




                                                                                                                                                                                         VALUE $

                                                                                                           0
                                                                                                         _______continuation sheets attached                                                                            Subtotal     $                                0.00    $          0.00
                                                                                                                                                                                                                (Total of this page)
                                                                                                                                                                                                                            Total    $                                0.00    $          0.00
                                                                                                                                                                                                             (Use only on last page)
                                                                                                                                                                                                                                                      (Report also on       (If applicable, report
                                                                                                                                                                                                                                                      Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                            Summary of Certain
                                                                                                                                                                                                                                                                            Liabilities and Related
                                                                                                                                                                                                                                                                            Data.)
                                                                                                                               Case 8:14-bk-10619-CPM                       Doc 1        Filed 09/10/14             Page 14 of 63
                                                                                                        B6E (Official Form 6E) (04/13)


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                           In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                   Debtor                                                                               (if known)

                                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                 A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                          unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                          address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                          property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                          the type of priority.

                                                                                                                 The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                          the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                  If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                          entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                          both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                          Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                          in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                          more than one of these three columns.)

                                                                                                                Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                          Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
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                                                                                                          amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                          primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                          amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                          with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                          Data.



                                                                                                              Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                         TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                               Domestic Support Obligations

                                                                                                              Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                        or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                        11 U.S.C. § 507(a)(1).


                                                                                                               Extensions of credit in an involuntary case

                                                                                                              Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                        appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                               Wages, salaries, and commissions

                                                                                                                 Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                         independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                         cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                               Contributions to employee benefit plans

                                                                                                                    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                            cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                 *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                      ALVARO LEONARDO LEON
                                                                                                              In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                      Debtor                                                                            (if known)




                                                                                                               Certain farmers and fishermen
                                                                                                             Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                               Deposits by individuals
                                                                                                             Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                         that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                               Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                             Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
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                                                                                                               Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                            Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                         Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                         U.S.C. § 507 (a)(9).



                                                                                                               Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                              Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                        alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                        alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                               * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                               adjustment.




                                                                                                                                                                   0
                                                                                                                                                                  ____ continuation sheets attached
                                                                                                                                   Case 8:14-bk-10619-CPM                                               Doc 1      Filed 09/10/14       Page 16 of 63
                                                                                                        B6F (Official Form 6F) (12/07)

                                                                                                                 ALVARO LEONARDO LEON
                                                                                                         In re __________________________________________,                                                                    Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                           (If known)

                                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                         against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                         useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                         of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                         1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                         appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                         community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                   If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                         "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                         Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                         Related Data.
                                                                                                                  Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                        HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                                          ORCOMMUNITY




                                                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                             CODEBTOR




                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                         DISPUTED
                                                                                                                    CREDITOR’S NAME,                                                                                                                                                    AMOUNT
                                                                                                                     MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                        OF
                                                                                                                   INCLUDING ZIP CODE,
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                                                                                                                                                                                                               SO STATE.                                                                 CLAIM
                                                                                                                  AND ACCOUNT NUMBER
                                                                                                                    (See instructions above.)

                                                                                                        ACCOUNT NO.         7009156916PA00001                                                  Incurred: 05/97
                                                                                                        AES/PHEAA                                                                              Consideration: Personal loan
                                                                                                        1200 NORTH 7TH STREET                                                                                                                             X                                      0.00
                                                                                                        HARRISBURG, PA 17102



                                                                                                        ACCOUNT NO.         7009156916PA00001                                                  Incurred: 05/97
                                                                                                        AES/WELLS FARGO                                                                        Consideration: Student Loan
                                                                                                        PO BOX 61047                                                                           STUDENT LOAN
                                                                                                                                                                                                                                                          X                                 82,657.00
                                                                                                        HARRISBURG, PA 17106



                                                                                                        ACCOUNT NO.         4264289998046363                                                   Incurred: 05/09
                                                                                                        BANK OF AMERICA                                                                        Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 982235                                                                                                                                     X                                 11,522.00
                                                                                                        EL PASO, TX 79998



                                                                                                        ACCOUNT NO.         4264289998046962                                                   Incurred: 04/12
                                                                                                        BANK OF AMERICA                                                                        Consideration: Credit cards
                                                                                                        PO BOX 982235                                                                                                                                     X                                 11,522.00
                                                                                                        EL PASO, TX 79998




                                                                                                              9
                                                                                                            _______continuation sheets attached                                                                                            Subtotal                                 $      105,701.00
                                                                                                                                                                                                                            Total                                                   $
                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                         (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                               Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 17 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      5201180110020472                                                  Incurred: 04/09
                                                                                                        CAP ONE                                                                            Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 5253                                                                                                                                            X                                    0.00
                                                                                                        CAROL STREAM, IL 60197
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                                                                                                        ACCOUNT NO.      5458001578907846                                                  Incurred: 08/08
                                                                                                        CAP ONE                                                                            Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 5253                                                                                                                                            X                                    0.00
                                                                                                        CAROL STREAM, IL 60197



                                                                                                        ACCOUNT NO.      169601-1267778279                                                 Incurred: 06/05
                                                                                                        CAP1/BSTBY                                                                         Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 5253                                                                                                                                            X                                    0.00
                                                                                                        CAROL STREAM, IL 60197



                                                                                                        ACCOUNT NO.      42343960500001                                                    Incurred: 03/12
                                                                                                        CBE                                                                                Consideration: Cellular Phone Bill
                                                                                                        PO BOX 2038                                                                        Collecting for VERIZON WIRELESS
                                                                                                                                                                                                                                                               X                                  300.00
                                                                                                        WATERLOO, IA 50704-2038



                                                                                                         ACCOUNT NO.     4031180399710248                                                  Incurred: 10/98
                                                                                                        CHASE                                                                              Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 15298                                                                                                                                           X                                    0.00
                                                                                                        WILMINGTON, DE 19850



                                                                                                                   1 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $       300.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 18 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      4185860794879417                                                  Incurred: 06/05
                                                                                                        CHASE                                                                              Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 15298                                                                                                                                           X                                   0.00
                                                                                                        WILMINGTON, DE 19850
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                                                                                                        ACCOUNT NO.      1568432333154                                                     Incurred: 02/02
                                                                                                        CHASE                                                                              Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 24696                                                                                                                                           X                                   0.00
                                                                                                        COLUMBUS, OH 43224



                                                                                                        ACCOUNT NO.      5888964213000741                                                  Incurred: 06/10
                                                                                                        CHASE-PIER                                                                         Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 15298                                                                                                                                           X                                   0.00
                                                                                                        WILMINGTON, DE 19850



                                                                                                        ACCOUNT NO.      5888962207604866                                                  Incurred: 08/08
                                                                                                        CHASE-TJX                                                                          Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 15298                                                                                                                                           X                                   0.00
                                                                                                        WILMINGTON, DE 19850



                                                                                                         ACCOUNT NO.     1523002012387272                                                  Incurred: 06/93
                                                                                                        CHASE/CC                                                                           Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 15298                                                                                                                                           X                                   0.00
                                                                                                        WILMINGTON, DE 19850



                                                                                                                   2 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $        0.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 19 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      1820000003500952                                                  Incurred: 06/05
                                                                                                        CHASE/CC                                                                           Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 15298                                                                                                                                           X                                    0.00
                                                                                                        WILMINGTON, DE 19850
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                                                                                                        ACCOUNT NO.      638889121                                                         Incurred: 08/93
                                                                                                        CITGO/CBNA                                                                         Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 6497                                                                                                                                            X                                    0.00
                                                                                                        SIOUX FALLS, SD 57117



                                                                                                        ACCOUNT NO.                                                                        Incurred: 8/2009
                                                                                                        CLAUDIA IANNINI                                                                    Consideration: OTHER
                                                                                                        P. O. BOX 320763                                                                   PROPERTY SETTLEMENT
                                                                                                                                                                                                                                                               X                               10,000.00
                                                                                                        TAMPA, FL 33679



                                                                                                        ACCOUNT NO.      4264289998046962                                                  Consideration: Revolving Credit Card debt
                                                                                                        ECHELON RECOVERY                                                                   Collecting for BANK OF AMERICA
                                                                                                        VORHEES, NJ 08043                                                                                                                                      X                                    0.00




                                                                                                         ACCOUNT NO.     27902321                                                          Incurred: 06/01
                                                                                                        FORD CRED                                                                          Consideration: Auto Loan
                                                                                                        PO BOX BOX 542000                                                                                                                                      X                                    0.00
                                                                                                        OMAHA, NE 68154



                                                                                                                   3 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $    10,000.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 20 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      9428780600                                                        Incurred: 05/09
                                                                                                        GROW FINANCIAL CREDIT UNION                                                        Consideration: Revolving Credit Card debt
                                                                                                        9927 DELANEY LAKE DRIVE                                                                                                                                X                               10,341.00
                                                                                                        TAMPA, FL 33619
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                                                                                                        ACCOUNT NO.      1000094287800
                                                                                                        GROW FINANCIAL FCU
                                                                                                        425 PHILLIPS BLVD                                                                                                                                                                           0.00
                                                                                                        EWING, NJ 08618



                                                                                                        ACCOUNT NO.      3000027524883                                                     Incurred: 06/09
                                                                                                        GROW FINANCIAL FCU                                                                 Consideration: Mortgage
                                                                                                        425 PHILLIPS BLVD                                                                                                                                      X                                    0.00
                                                                                                        EWING, NJ 08618



                                                                                                        ACCOUNT NO.      9428780600                                                        Incurred: 05/19
                                                                                                        GROW FINANCIAL FCU                                                                 Consideration: Revolving Credit Card debt
                                                                                                        9927 DELANEY LAKE DR                                                                                                                                   X                               10,341.00
                                                                                                        TAMPA, FL 33619



                                                                                                         ACCOUNT NO.     9428780800                                                        Incurred: 02/12
                                                                                                        GROW FINANCIAL FCU                                                                 Consideration: Personal loan
                                                                                                        9927 DELANEY LAKE DR                                                                                                                                   X                                    0.00
                                                                                                        TAMPA, FL 33619



                                                                                                                   4 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $    20,682.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 21 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      9428780907                                                        Incurred: 05/10
                                                                                                        GROW FINANCIAL FCU                                                                 Consideration: Home Equity Line
                                                                                                        9927 DELANEY LAKE DR                                                                                                                                   X                                    0.00
                                                                                                        TAMPA, FL 33619
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                                                                                                        ACCOUNT NO.      6035322131854683                                                  Incurred: 02/12
                                                                                                        HOME DEPOT /CBNA                                                                   Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 6497                                                                                                                                            X                                2,991.00
                                                                                                        SIOUX FALLS, SD 57117



                                                                                                        ACCOUNT NO.      603532034577754                                                   Incurred: 02/10
                                                                                                        HOME DEPOT /CBNA                                                                   Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 6497                                                                                                                                            X                                5,337.00
                                                                                                        SIOUX FALLS, SD 57117



                                                                                                        ACCOUNT NO.      9428780600                                                        Incurred: 05/09
                                                                                                        JEFFREY MOUCH ESQ                                                                  Consideration: Revolving Credit Card debt
                                                                                                        KASS SHULER PA                                                                     Collecting for GROW FINANCIAL
                                                                                                                                                                                                                                                               X                                    0.00
                                                                                                        PO BOX 800                                                                         CREDIT UNION
                                                                                                        TAMPA, FL 33601


                                                                                                         ACCOUNT NO.     3055611162                                                        Incurred: 06/01
                                                                                                        KAY JEWELERS                                                                       Consideration: Revolving Credit Card debt
                                                                                                        375 GHENT RD                                                                                                                                           X                                    0.00
                                                                                                        FAIRLAWN, OH 44333



                                                                                                                   5 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $     8,328.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 22 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      6035322131854683                                                  Incurred: 05/09
                                                                                                        LTD FINANCIAL SERVICES                                                             Consideration: Revolving Credit Card debt
                                                                                                        7322 SOUTHWEST FREEWAY                                                             Collecting for HOME DEPOT /CBNA
                                                                                                                                                                                                                                                               X                                11,522.00
                                                                                                        SUITE 1600
                                                                                                        HOUSTON, TX 77074-2053
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                                                                                                        ACCOUNT NO. 297ADHKN1454J / 582833-091 Incurred: 12/12
                                                                                                        MICHAEL J. STANCO                      Consideration: OTHER
                                                                                                        TEN LARKFIELD ROAD                     Collecting for TRAVELERS INSURANCE
                                                                                                                                                                                                                                                               X                                 3,224.44
                                                                                                        EAST NORTHPORT, NY 11731



                                                                                                        ACCOUNT NO.      4718300002763497                                                  Incurred: 04/14
                                                                                                        PORTFOLIO RC                                                                       Consideration: Revolving Credit Card debt
                                                                                                        287 INDEPENDENCE                                                                   Collecting for US BANK
                                                                                                                                                                                                                                                               X                                11,049.00
                                                                                                        VIRGINIA BEACH, VA 23462



                                                                                                        ACCOUNT NO.      6019210716574067                                                  Incurred: 02/10
                                                                                                        SYNCB/MOHAWK                                                                       Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 981439                                                                                                                                          X                                     0.00
                                                                                                        EL PASO, TX 79998



                                                                                                         ACCOUNT NO.     4352371710852824                                                  Incurred: 05/05
                                                                                                        TARGET NB                                                                          Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 673                                                                                                                                             X                                     0.00
                                                                                                        MINNEAPOLIS, MN 55440



                                                                                                                   6 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $    25,795.44
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 23 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      6035320345477754                                                  Incurred: 01/07
                                                                                                        THD/CBNA                                                                           Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 6497                                                                                                                                            X                                 5,337.00
                                                                                                        SIOUX FALLS, SD 57117
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                                                                                                        ACCOUNT NO.      6035320275552071                                                  Incurred: 1/07
                                                                                                        THD/CBNA                                                                           Consideration: Revolving Credit Card debt
                                                                                                        PO BOX 6497                                                                                                                                            X                                     0.00
                                                                                                        SIOUX FALLS, SD 57117



                                                                                                        ACCOUNT NO.
                                                                                                                 297ADHKN1454J / 582833-091 Incurred: 12/12
                                                                                                        THOMAS GEORGE ASSOCIATES            Consideration: OTHER
                                                                                                        LTD                                 Collecting for TRAVELERS INSURANCE
                                                                                                                                                                                                                                                               X                                 3,224.44
                                                                                                        P. O. Box 30
                                                                                                        EAST NORTHPORT, NY 11731


                                                                                                        ACCOUNT NO.297ADHKN1454J / 582833-091 Incurred: 12/12
                                                                                                        TRAVELERS INSURANCE                   Consideration: Other
                                                                                                        PO BOX 3022                                                                                                                                                                              3,224.44
                                                                                                        FALL RIVER, MA 02721



                                                                                                         ACCOUNT NO.     4718300002763497                                                  Incurred: 12/10
                                                                                                        U S BANK                                                                           Consideration: Revolving Credit Card debt
                                                                                                        101 5TH ST E STE A                                                                                                                                     X                                     0.00
                                                                                                        SAINT PAUL, MN 55101



                                                                                                                   7 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $     11,785.88
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 24 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      603532034577754                                                   Incurred: 02/10
                                                                                                        UNITED RECOVERY SYSTEMS                                                            Consideration: Revolving Credit Card debt
                                                                                                        P. O. BOX 722929                                                                   Collecting for HOME DEPOT /CBNA
                                                                                                                                                                                                                                                               X                                 5,337.00
                                                                                                        HOUSTON, TX 77272-2929
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                                                                                                        ACCOUNT NO.      4718300002763497                                                  Incurred: 12/10
                                                                                                        US BANK                                                                            Consideration: Revolving Credit Card debt
                                                                                                        101 5TH STREET ST E STE. A                                                                                                                             X                                11,048.00
                                                                                                        ST. PAUL, MN 55101



                                                                                                        ACCOUNT NO.      1000005150200                                                     Incurred: 05/05
                                                                                                        USF FCU                                                                            Consideration: Mortgage
                                                                                                        13302 NORTH PALM DRIVE                                                                                                                                 X                                     0.00
                                                                                                        TAMPA, FL 33612



                                                                                                        ACCOUNT NO.      1000515020100                                                     Incurred: 10/05
                                                                                                        USF FED CREDIT UNION                                                               Consideration: Mortgage
                                                                                                        13302 N USF PALM DR                                                                                                                                    X                                     0.00
                                                                                                        TAMPA, FL 33612



                                                                                                         ACCOUNT NO.     515020001                                                         Incurred: 01/06
                                                                                                        USF FED CREDIT UNION                                                               Consideration: Mortgage
                                                                                                        13302 N USF PALM DR                                                                                                                                    X                                     0.00
                                                                                                        TAMPA, FL 33612



                                                                                                                   8 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $    16,385.00
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                 Case 8:14-bk-10619-CPM                                              Doc 1        Filed 09/10/14          Page 25 of 63

                                                                                                        B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                  ALVARO LEONARDO LEON
                                                                                                          In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                           Debtor                                                                                                                             (If known)


                                                                                                             SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                        CODEBTOR
                                                                                                                   CREDITOR’S NAME,
                                                                                                                                                                                                    DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                    MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                      CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                  INCLUDING ZIP CODE,
                                                                                                                                                                                                    IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                 AND ACCOUNT NUMBER
                                                                                                                   (See instructions above.)


                                                                                                        ACCOUNT NO.      51502020706                                                       Incurred: 07/06
                                                                                                        USF FED CREDIT UNION                                                               Consideration: Mortgage
                                                                                                        13302 N USF PALM DR                                                                                                                                    X                                     0.00
                                                                                                        TAMPA, FL 33612
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                                                                                                        ACCOUNT NO.      42343960500001                                                    Incurred: 03/12
                                                                                                        VERIZON WIRELESS                                                                   Consideration: Other
                                                                                                        1 VERIZON PLACE                                                                                                                                                                           354.55
                                                                                                        ALPHARETTA, GA 30004



                                                                                                        ACCOUNT NO.




                                                                                                        ACCOUNT NO.




                                                                                                         ACCOUNT NO.




                                                                                                                   9 of _____continuation
                                                                                                        Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $       354.55
                                                                                                        to Schedule of Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                                                                                                                          Total                                 $    199,331.87
                                                                                                                                                                                                      (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                             Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                  Case 8:14-bk-10619-CPM                     Doc 1         Filed 09/10/14           Page 26 of 63
                                                                                                        B6G (Official Form 6G) (12/07)


                                                                                                                ALVARO LEONARDO LEON                                                       Case No.
                                                                                                        In re
                                                                                                                                  Debtor                                                                               (if known)

                                                                                                                SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                    Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                          State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                          names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                          contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                          guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                           DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                   OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                                                Case 8:14-bk-10619-CPM                      Doc 1       Filed 09/10/14            Page 27 of 63
                                                                                                        B6H (Official Form 6H) (12/07)




                                                                                                        In re   ALVARO LEONARDO LEON                                                      Case No.
                                                                                                                                 Debtor                                                                              (if known)


                                                                                                                                                    SCHEDULE H - CODEBTORS
                                                                                                            Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                        debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                        property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                        Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                        name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                        commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                        commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                        parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                        Fed. Bankr. P. 1007(m).
                                                                                                            Check this box if debtor has no codebtors.



                                                                                                                      NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                                                          Case 8:14-bk-10619-CPM                    Doc 1           Filed 09/10/14          Page 28 of 63

                                                                                                         Fill in this information to identify your case:


                                                                                                         Debtor 1           ALVARO LEONARDO LEON
                                                                                                                            __________________________________________________________ _________
                                                                                                                             First Name             Middle Name             Last Name

                                                                                                         Debtor 2            __________________________________________________________________
                                                                                                         (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                       Middle
                                                                                                         United States Bankruptcy Court for the: ___________________________             FL
                                                                                                                                                                             District of ________

                                                                                                         Case number         ___________________________________________                                        Check if this is:
                                                                                                          (If known)
                                                                                                                                                                                                                   An amended filing
                                                                                                                                                                                                                   A supplement showing post-petition
                                                                                                                                                                                                                   chapter 13 income as of the following date:
                                                                                                                                                                                                                   ________________
                                                                                                        Official Form                     6I                                                                       MM / DD / YYYY


                                                                                                        Schedule I: Your Income                                                                                                                              12/13

                                                                                                        Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                        supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                        If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                        separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                         Part 1:           Describe Employment


                                                                                                        1. Fill in your employment
                                                                                                            information.                                                          Debtor 1                                       Debtor 2 or non-filing spouse
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                                                                                                            If you have more than one job,
                                                                                                            attach a separate page with
                                                                                                            information about additional         Employment status                 Employed                                           Employed
                                                                                                            employers.                                                        X    Not employed                                       Not employed
                                                                                                            Include part-time, seasonal, or
                                                                                                            self-employed work.                                             none
                                                                                                                                                 Occupation                  __________________ ________________             __________________________________
                                                                                                            Occupation may Include student
                                                                                                            or homemaker, if it applies.
                                                                                                                                                 Employer’s name             __________________ ________________              __________________ ________________


                                                                                                                                                 Employer’s address         _______________________________________          _______________________________________
                                                                                                                                                                              Number Street                                   Number   Street

                                                                                                                                                                            _______________________________________          _______________________________________

                                                                                                                                                                            _______________________________________          _______________________________________

                                                                                                                                                                            _______________________________________          _______________________________________
                                                                                                                                                                              City           State  ZIP Code                  City                State ZIP Code

                                                                                                                                                 How long employed there?           0 yrs, 0 mos
                                                                                                                                                                                   _______                                     _______

                                                                                                         Part 2:           Give Details About Monthly Income

                                                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                            spouse unless you are separated.
                                                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                                                                                                              non-filing spouse
                                                                                                         2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.            2.            0.00                    N.A.
                                                                                                                                                                                                          $___________              $____________

                                                                                                         3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                         + $___________      +             N.A.
                                                                                                                                                                                                                                    $____________


                                                                                                         4. Calculate gross income. Add line 2 + line 3.                                            4.           0.00
                                                                                                                                                                                                          $__________                      N.A.
                                                                                                                                                                                                                                    $____________



                                                                                                        Official Form       6I                                           Schedule I: Your Income                                                         page 1
                                   Case 8:14-bk-10619-CPM                                          Doc 1           Filed 09/10/14              Page 29 of 63
                  ALVARO LEONARDO LEON
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                                  0.00
                                                                                                                           $___________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                              5a.           0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5b. Mandatory contributions for retirement plans                                                               5b.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
    5c. Voluntary contributions for retirement plans                                                               5c.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
    5d. Required repayments of retirement fund loans                                                               5d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
    5e. Insurance                                                                                                  5e.           0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5f. Domestic support obligations                                                                               5f.
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
                                                                                                                                 0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5g. Union dues                                                                                                 5g.
    5h. Other deductions. Specify: __________________________________                                              5h.            0.00
                                                                                                                         + $____________       +          N.A.
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________

                                                                                                                                  0.00                   N.A.
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

    8a. Net income from rental property and from operating a business,
        profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                      0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.            0.00                   N.A.
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                   N.A.
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
    8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
                                        RENTAL INCOME, GIFTS FROM
     8h. Other monthly income. Specify: _______________________________ 8h.FAMILY  700.00
                                                                            + $____________                                                              N.A.
                                                                                                                                                + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          700.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                               700.00
                                                                                                                          $___________     +             N.A. = $_____________
                                                                                                                                                   $_____________      700.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                  0.00
                                                                                                                                                                 11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                              700.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                                                                                                                           Case 8:14-bk-10619-CPM                     Doc 1        Filed 09/10/14            Page 30 of 63

                                                                                                          Fill in this information to identify your case:

                                                                                                          Debtor 1           ALVARO LEONARDO LEON
                                                                                                                            __________________________________________________________________
                                                                                                                             First Name               Middle Name             Last Name                       Check if this is:
                                                                                                          Debtor 2           ________________________________________________________________
                                                                                                          (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                                  An amended filing
                                                                                                                                                                                                                  A supplement showing post-petition chapter 13
                                                                                                                                                        Middle
                                                                                                          United States Bankruptcy Court for the: ___________________________             FL
                                                                                                                                                                              District of ________
                                                                                                                                                                                                                  expenses as of the following date:
                                                                                                                                                                                                                  ________________
                                                                                                          Case number        ___________________________________________                                          MM / DD / YYYY
                                                                                                          (If known)
                                                                                                                                                                                                                  A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                  maintains a separate household
                                                                                                        Official Form                      6J
                                                                                                        Schedule J: Your Expenses                                                                                                                            12/13

                                                                                                        Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                        information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                        (if known). Answer every question.

                                                                                                         Part 1:            Describe Your Household

                                                                                                        1. Is this a joint case?
                                                                                                           X    No. Go to line 2.
                                                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                                                             No
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                                                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                                                        2. Do you have dependents?                      No
                                                                                                                                                    X                                      Dependent’s relationship to              Dependent’s   Does dependent live
                                                                                                           Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
                                                                                                           Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                                                                                       No
                                                                                                           Do not state the dependents’                                                    __________________ _______               ________
                                                                                                           names.                                                                                                                                      Yes

                                                                                                                                                                                           __________________ _______               ________           No
                                                                                                                                                                                                                                                       Yes

                                                                                                                                                                                           __________________ _______               ________           No
                                                                                                                                                                                                                                                       Yes

                                                                                                                                                                                           __________________ _______               ________           No
                                                                                                                                                                                                                                                       Yes

                                                                                                                                                                                           __________________ _______               ________           No
                                                                                                                                                                                                                                                       Yes

                                                                                                        3. Do your expenses include                 X   No
                                                                                                           expenses of people other than
                                                                                                           yourself and your dependents?                Yes

                                                                                                        Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                        Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                        expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                        applicable date.
                                                                                                        Include expenses paid for with non-cash government assistance if you know the value
                                                                                                        of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                         Your expenses

                                                                                                         4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                              0.00
                                                                                                             any rent for the ground or lot.                                                                                  4.
                                                                                                                                                                                                                                      $_____________________

                                                                                                             If not included in line 4:
                                                                                                             4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                     59.00
                                                                                                                                                                                                                                      $_____________________
                                                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                      0.00
                                                                                                                                                                                                                                      $_____________________
                                                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                    50.00
                                                                                                                                                                                                                                      $_____________________
                                                                                                             4d.    Homeowner’s association or condominium dues                                                               4d.                    33.60
                                                                                                                                                                                                                                      $_____________________

                                                                                                        Official Form        6J                                       Schedule J: Your Expenses                                                          page 1
                               Case 8:14-bk-10619-CPM                        Doc 1       Filed 09/10/14         Page 31 of 63


 Debtor 1         ALVARO LEONARDO LEON
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                                        0.00
                                                                                                                        $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:
                                                                                                                                           40.00
      6a.   Electricity, heat, natural gas                                                                       6a.    $_________________ ____
                                                                                                                                            0.00
      6b.   Water, sewer, garbage collection                                                                     6b.    $_________________ ____
                                                                                                                                           50.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                       6c.    $_________________ ____
                                                                                                                                            0.00
      6d.   Other. Specify: _______________________________________________                                      6d.    $_________________ ____
                                                                                                                                         200.00
 7. Food and housekeeping supplies                                                                               7.     $_________________ ____
                                                                                                                                            0.00
 8. Childcare and children’s education costs                                                                     8.     $_________________ ____
                                                                                                                                           25.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_________________ ____
                                                                                                                                           20.00
10.   Personal care products and services                                                                        10.    $_________________ ____
                                                                                                                                           20.00
11.   Medical and dental expenses                                                                                11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                           90.00
                                                                                                                        $_________________ ____
      Do not include car payments.                                                                               12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                         13.                   50.00
                                                                                                                        $_________________ ____
14.   Charitable contributions and religious donations                                                           14.                    0.00
                                                                                                                        $_________________ ____
                                                                                                                                                       1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                        15a.
                                                                                                                                        0.00
                                                                                                                        $_________________ ____
      15b. Health insurance                                                                                      15b.                   0.00
                                                                                                                        $_________________ ____
      15c. Vehicle insurance                                                                                     15c.                  60.00
                                                                                                                        $_________________ ____
                                    262 condo association fee
      15d. Other insurance. Specify:_______________________________________                                      15d.                   0.00
                                                                                                                        $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                        0.00
                                                                                                                        $_________________ ____
      Specify: ______________________________________ __________________                                         16.

17.   Installment or lease payments:
                                                                                                                                            0.00
      17a. Car payments for Vehicle 1                                                                            17a.   $_________________ ____
                                                                                                                                            0.00
      17b. Car payments for Vehicle 2                                                                            17b.   $_________________ ____
                                                                                                                                            0.00
      17c. Other. Specify:_________________________________ ______________                                       17c.   $_________________ ____
                                                                                                                                            0.00
      17d. Other. Specify:_________________________________ ______________                                       17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                                0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                        18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                                  19.                   0.00
                                                                                                                        $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                           20a.
                                                                                                                                         0.00
                                                                                                                        $_____________________

      20b. Real estate taxes                                                                                     20b.
                                                                                                                                            0.00
                                                                                                                        $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                          20c.
                                                                                                                                         0.00
                                                                                                                        $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                              20d.
                                                                                                                                         0.00
                                                                                                                        $_____________________

      20e. Homeowner’s association or condominium dues                                                           20e.
                                                                                                                                        0.00
                                                                                                                        $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                      page 2
                              Case 8:14-bk-10619-CPM                     Doc 1        Filed 09/10/14            Page 32 of 63


 Debtor 1         ALVARO LEONARDO LEON
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                                                                                                                                           50.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                 747.60
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                         700.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                  747.60
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                     -47.60
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.     Explain here:




 Official Form     6J                                        Schedule J: Your Expenses                                                        page 3
                                                                                                                                     Case 8:14-bk-10619-CPM              Doc 1        Filed 09/10/14           Page 33 of 63

                                                                                                              B6 Summary (Official Form 6 - Summary) (12/13)




                                                                                                                                                   United States Bankruptcy Court
                                                                                                                          ALVARO LEONARDO LEON
                                                                                                                                                               Middle District of Florida

                                                                                                             In re                                                                                        Case No.
                                                                                                                                                              Debtor
                                                                                                                                                                                                          Chapter        7

                                                                                                                                                             SUMMARY OF SCHEDULES
                                                                                                        Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                        I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                        claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                        Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                   AMOUNTS SCHEDULED
                                                                                                                                                       ATTACHED
                                                                                                          NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                                                          A – Real Property
                                                                                                                                                       YES                     1            $     35,000.00
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                                                                                                          B – Personal Property
                                                                                                                                                       YES                     4            $      3,762.00

                                                                                                          C – Property Claimed
                                                                                                              as exempt                                YES                     1

                                                                                                          D – Creditors Holding
                                                                                                             Secured Claims                            YES                     1                                  $           0.00

                                                                                                          E - Creditors Holding Unsecured
                                                                                                              Priority Claims                                                                                     $
                                                                                                             (Total of Claims on Schedule E)
                                                                                                                                                       YES                     2                                              0.00

                                                                                                          F - Creditors Holding Unsecured                                                                         $
                                                                                                              Nonpriority Claims                       YES                     10                                       199,331.87

                                                                                                          G - Executory Contracts and
                                                                                                              Unexpired Leases                         YES                     1


                                                                                                          H - Codebtors                                YES                     1

                                                                                                          I - Current Income of
                                                                                                              Individual Debtor(s)                     YES                     2                                                        $       700.00

                                                                                                          J - Current Expenditures of Individual
                                                                                                              Debtors(s)                               YES                     3                                                        $       747.60


                                                                                                                                               TOTAL                           26           $     38,762.00       $     199,331.87
                                                                                                          Official Form 6 -Case     8:14-bk-10619-CPM
                                                                                                                           Statistical Summary (12/13)                      Doc 1        Filed 09/10/14      Page 34 of 63
                                                                                                                                              United States Bankruptcy Court
                                                                                                                                                                 Middle District of Florida

                                                                                                                     In re       ALVARO LEONARDO LEON                                                    Case No.
                                                                                                                                                               Debtor
                                                                                                                                                                                                         Chapter      7

                                                                                                        STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                             If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                        §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                              Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                        information here.

                                                                                                        This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                        Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                           Type of Liability                                                             Amount
                                                                                                           Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                                  0.00
                                                                                                           Taxes and Certain Other Debts Owed to Governmental Units (from            $
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                                                                                                           Schedule E)
                                                                                                                                                                                                  0.00
                                                                                                           Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                           Schedule E) (whether disputed or undisputed)                                           0.00
                                                                                                           Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                                            82,657.00
                                                                                                           Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                           Obligations Not Reported on Schedule E                                                 0.00
                                                                                                           Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                           (from Schedule F)                                                                      0.00

                                                                                                                                                                            TOTAL    $      82,657.00


                                                                                                          State the Following:
                                                                                                           Average Income (from Schedule I, Line 12)                                 $        700.00
                                                                                                           Average Expenses (from Schedule J, Line 22)                               $
                                                                                                                                                                                              747.60
                                                                                                           Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                           22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                              978.33



                                                                                                          State the Following:
                                                                                                           1. Total from Schedule D, “UNSECURED PORTION, IF                                              $
                                                                                                           ANY” column                                                                                              0.00

                                                                                                           2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                           PRIORITY” column.                                                                      0.00

                                                                                                           3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                             $
                                                                                                           PRIORITY, IF ANY” column                                                                                 0.00

                                                                                                           4. Total from Schedule F                                                                      $   199,331.87
                                                                                                           5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $
                                                                                                                                                                                                             199,331.87
                                                                                                                                     Case 8:14-bk-10619-CPM
                                                                                                              B6 (Official Form 6 - Declaration) (12/07)                                                             Doc 1              Filed 09/10/14                         Page 35 of 63

                                                                                                                        ALVARO LEONARDO LEON
                                                                                                              In re                                                                                                                                        Case No.
                                                                                                                                                     Debtor                                                                                                                                   (If known)

                                                                                                                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                  28
                                                                                                                         I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                              are true and correct to the best of my knowledge, information, and belief.



                                                                                                               Date       09/10/2014                                                                                                Signature:          /s/ ALVARO LEONARDO LEON
                                                                                                                                                                                                                                                                                       Debtor


                                                                                                               Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                              (Joint Debtor, if any)

                                                                                                                                                                                                                                           [If joint case, both spouses must sign.]
                                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                       DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                         compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                         110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                         by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                         accepting any fee from the debtor, as required by that section.
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                                                                                                         Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                         of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                          who signs this document.




                                                                                                          Address

                                                                                                          X
                                                                                                                               Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                        Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                        If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                        A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                        18 U.S.C. § 156.
                                                                                                        -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                             DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                              I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                        or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                        in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                        shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                        Date                                                                                                                 Signature:


                                                                                                                                                                                                                                              [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                         [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                         -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                                                 Case 8:14-bk-10619-CPM                      Doc 1        Filed 09/10/14            Page 36 of 63
                                                                                                        B7 (Official Form 7) (04/13)
                                                                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                    Middle District of Florida

                                                                                                          In Re ALVARO LEONARDO LEON                                                                             Case No.
                                                                                                                                                                                                                                  (if known)


                                                                                                                                                             STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                  the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                  information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                  filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                  provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                  indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                  or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                  R. Bankr. P. 1007(m).

                                                                                                                            Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                  must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                  space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                  (if known), and the number of the question.

                                                                                                                  DEFINITIONS

                                                                                                                             "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                  individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
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                                                                                                                  the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                  the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                  employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                  in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                             "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                  their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                                  control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                                  the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                             1. Income from employment or operation of business

                                                                                                                             State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                             the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                 None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                             two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                             the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                             of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                             spouses are separated and a joint petition is not filed.)

                                                                                                                                       AMOUNT                                              SOURCE

                                                                                                                     2014               4200.00    ROOMMATE'S RENT, RELATIVE'S GIFTS

                                                                                                                     2013               6500.00    RELATIVE'S GIFTS

                                                                                                                     2012              15000.00    SAVINGS, HOME SOLD
                                                                                                                        Case 8:14-bk-10619-CPM                         Doc 1        Filed 09/10/14              Page 37 of 63
                                                                                                        B7 (Official Form 7) (04/13)                                                                                                                 2




                                                                                                                   2.   Income other than from employment or operation of business

                                                                                                        None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                   of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                   particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                   12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                   separated and a joint petition is not filed.)

                                                                                                                    AMOUNT                                                                SOURCE

                                                                                                            2014                4000.00            ROOMMATE'S RENT, RELATIVE'S GIFTS

                                                                                                            2013                4500.00            RELATIVE'S GIFTS



                                                                                                                   3. Payments to creditors
                                                                                                        None

                                                                                                                   Complete a. or b., as appropriate, and c.
                                                                                                                   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                   goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                   this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                   Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
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                                                                                                                   or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                   counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                        NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                       PAYMENTS                                PAID                  OWING




                                                                                                        None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                   within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                   constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk
                                                                                                                   (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                   alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                   (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                        *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                                        NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                         AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
                                                                                                                        Case 8:14-bk-10619-CPM                      Doc 1         Filed 09/10/14            Page 38 of 63
                                                                                                        B7 (Official Form 7) (04/13)                                                                                                          3




                                                                                                        None

                                                                                                                   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                   for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                   include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                   and a joint petition is not filed.)


                                                                                                         NAME AND ADDRESS OF CREDITOR                                DATES OF                      AMOUNT PAID             AMOUNT STILL
                                                                                                          AND RELATIONSHIP TO DEBTOR                                 PAYMENTS                                                 OWING

                                                                                                        CLAUDIA IANNINI                                        05/14                                    $5,000                   $5,000
                                                                                                        P. O. BOX 320763
                                                                                                        TAMPA, FL 33679

                                                                                                        Relationship: EX-WIFE


                                                                                                                   4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                        None       a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                   preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                   information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
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                                                                                                                   and a joint petition is not filed.)


                                                                                                         CAPTION OF SUIT                  NATURE OF PROCEEDING                           COURT OR                               STATUS OR
                                                                                                        AND CASE NUMBER                                                             AGENCY AND LOCATION                         DISPOSITION

                                                                                                        GROW FINANCIAL     CONTRACT INDEBTEDNESS                                       COUNTY CIVIL                         UNRESOLVED
                                                                                                        CREDIT UNION V.                                                                HILLSBOROUGH
                                                                                                        LEON                                                                           COUNTY, FL
                                                                                                        2014CC011069A001HC


                                                                                                        None       b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                   one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                   13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                   unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF                                          DATE OF                                      DESCRIPTION AND
                                                                                                         PERSON FOR WHOSE BENEFIT                                       SEIZURE                                     VALUE OF PROPERTY
                                                                                                           PROPERTY WAS SEIZED
                                                                                                                        Case 8:14-bk-10619-CPM                        Doc 1        Filed 09/10/14             Page 39 of 63
                                                                                                        B7 (Official Form 7) (04/13)                                                                                                             4




                                                                                                                   5.   Repossessions, foreclosures and returns

                                                                                                        None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                   lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                   (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                   both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                            NAME AND                                    DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                           ADDRESS OF                                    FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                        CREDITOR OR SELLER                              TRANSFER OR RETURN


                                                                                                                   6. Assignments and Receiverships

                                                                                                        None       a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                   the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                   assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                   joint petition is not filed.)


                                                                                                                 NAME AND                                      DATE OF ASSIGNMENT                                   TERMS OF
                                                                                                                ADDRESS OF                                                                                         ASSIGNMENT
                                                                                                                  ASSIGNEE                                                                                        OR SETTLEMENT
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                                                                                                        None       b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                   year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                   must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                   the spouses are separated and a joint petition is not filed.)


                                                                                                                 NAME AND                            NAME AND LOCATION                              DATE OF                DESCRIPTION AND
                                                                                                                ADDRESS OF                           OF COURT CASE TITLE                             ORDER                VALUE OF PROPERTY
                                                                                                                CUSTODIAN                                 & NUMBER



                                                                                                                   7.   Gifts

                                                                                                        None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                   case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                   member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                   12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                   unless the spouses are separated and a joint petition is not filed.)


                                                                                                               NAME AND                               RELATIONSHIP                           DATE OF                   DESCRIPTION AND
                                                                                                              ADDRESS OF                            TO DEBTOR, IF ANY                          GIFT                     VALUE OF GIFT
                                                                                                        PERSON OR ORGANIZATION
                                                                                                                        Case 8:14-bk-10619-CPM                       Doc 1        Filed 09/10/14             Page 40 of 63
                                                                                                        B7 (Official Form 7) (04/13)                                                                                                           5




                                                                                                                   8.   Losses

                                                                                                        None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                   commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                   chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                   separated and a joint petition is not filed.)


                                                                                                            DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                             AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                            OF PROPERTY                                     INSURANCE, GIVE PARTICULARS


                                                                                                                   9.   Payments related to debt counseling or bankruptcy

                                                                                                        None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                   for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                   bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                    NAME AND ADDRESS                          DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                                                        OF PAYEE                              NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                                                             OTHER THAN DEBTOR                                VALUE OF PROPERTY
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                                                                                                        LAW OFFICE OF WALTER                           9/03/2014                                        $999.00
                                                                                                        SOWA,III ESQ.                                                                                   $600 PROVIDED ON 9/3/14
                                                                                                        435 12TH STREET WEST SUITE                                                                      $399 PROVIDED ON 9/3/14 AS
                                                                                                        206                                                                                             POST
                                                                                                        BRANDENTON, FL 34205                                                                            DATED CHECK FOR 10/3/14


                                                                                                        001 DEBTORCC, INC.                             9/4/2014                                         $9.95
                                                                                                        378 SUMMIT AVENUE.
                                                                                                        JERSEY CITY, NJ 07306



                                                                                                                   10. Other transfers

                                                                                                        None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                   of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                   of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                   whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                            NAME AND ADDRESS OF TRANSFEREE,                                      DATE                            DESCRIBE PROPERTY
                                                                                                                RELATIONSHIP TO DEBTOR                                                                            TRANSFERRED AND
                                                                                                                                                                                                                   VALUE RECEIVED
                                                                                                                        Case 8:14-bk-10619-CPM                       Doc 1        Filed 09/10/14            Page 41 of 63
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                                                                                                                   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                   to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                        None

                                                                                                               NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                       AMOUNT OF MONEY OR
                                                                                                                                                                           TRANSFER(S)                         DESCRIPTION AND
                                                                                                                                                                                                            VALUE OF PROPERTY OR
                                                                                                                                                                                                         DEBTOR'S INTEREST IN PROPERTY


                                                                                                                   11. Closed financial accounts

                                                                                                        None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                   were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                   Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                   accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                   institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                   instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                   and a joint petition is not filed.)


                                                                                                                 NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                                                ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
                                                                                                                INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                         OR CLOSING
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                                                                                                                   12. Safe deposit boxes

                                                                                                        None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                   valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                   chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                   is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                    NAME AND                        NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                                                 ADDRESS OF BANK                   THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
                                                                                                               OR OTHER DEPOSITORY                      OR DEPOSITORY                                                 SURRENDER, IF ANY


                                                                                                                   13. Setoffs

                                                                                                        None              List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                   preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                   information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                   and a joint petition is not filed.)


                                                                                                               NAME AND ADDRESS OF CREDITOR                                    DATE                                  AMOUNT
                                                                                                                                                                                OF                                      OF
                                                                                                                                                                              SETOFF                                  SETOFF
                                                                                                                        Case 8:14-bk-10619-CPM                       Doc 1        Filed 09/10/14          Page 42 of 63
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                                                                                                                   14. Property held for another person

                                                                                                        None            List all property owned by another person that the debtor holds or controls.


                                                                                                                   NAME AND                                DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                                ADDRESS OF OWNER                          VALUE OF PROPERTY


                                                                                                                   15. Prior address of debtor
                                                                                                        None
                                                                                                                          If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                   premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                   joint petition is filed, report also any separate address of either spouse.


                                                                                                                 ADDRESS                                           NAME USED                                   DATES OF OCCUPANCY


                                                                                                        208 S. HALE AVE                             LEONARDO LEON                                      JANUARY 1994 TO FEBRUARY
                                                                                                        TAMPA, FL 33609                                                                                2012
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                                                                                                                   16. Spouses and Former Spouses
                                                                                                        None
                                                                                                                       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                   Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                   eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                   any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                                 NAME


                                                                                                                   17. Environmental Sites

                                                                                                                   For the purpose of this question, the following definitions apply:

                                                                                                                   "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                   releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                   other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                   wastes, or material.

                                                                                                                              "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                              presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                              "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                              hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                        None
                                                                                                                   a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                   unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                   governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                SITE NAME                           NAME AND ADDRESS                          DATE OF                ENVIRONMENTAL
                                                                                                               AND ADDRESS                        OF GOVERNMENTAL UNIT                        NOTICE                      LAW
                                                                                                                        Case 8:14-bk-10619-CPM                          Doc 1     Filed 09/10/14             Page 43 of 63
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                                                                                                                   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                   of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                        None

                                                                                                                SITE NAME                           NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                               AND ADDRESS                        OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                                   c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                   with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                        None       was a party to the proceeding, and the docket number.


                                                                                                                  NAME AND ADDRESS                                  DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                                OF GOVERNMENTAL UNIT


                                                                                                                   18. Nature, location and name of business

                                                                                                        None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                   businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                   managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                   other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                   which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
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                                                                                                                   preceding the commencement of this case.

                                                                                                                   If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                   beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                   voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                   If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                   beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                   voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                          NAME              LAST FOUR DIGITS OF                    ADDRESS                 NATURE OF BUSINESS BEGINNING AND
                                                                                                                            SOCIAL-SECURITY OR                                                                ENDING DATES
                                                                                                                             OTHER INDIVIDUAL
                                                                                                                              TAXPAYER-I.D. NO.
                                                                                                                            (ITIN)/ COMPLETE EIN


                                                                                                                   b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                   U.S.C. § 101.
                                                                                                        None

                                                                                                                   NAME                                                                                ADDRESS




                                                                                                                                [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                     *    *    *    *    *   *
                                                                                                                                         Case 8:14-bk-10619-CPM                                  Doc 1            Filed 09/10/14                   Page 44 of 63
                                                                                                                     B7 (Official Form 7) (04/13)                                                                                                                                         9



                                                                                                                     [If completed by an individual or individual and spouse]

                                                                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                     thereto and that they are true and correct.
                                                                                                                    09/10/2014                                                                                     /s/ ALVARO LEONARDO LEON
                                                                                                        Date                                                                            Signature
                                                                                                                                                                                        of Debtor                  ALVARO LEONARDO LEON




                                                                                                                                                                                0 continuation sheets attached
                                                                                                                                                                              _____


                                                                                                                            Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
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                                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                        compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                        rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                        have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                        in that section.




                                                                                                        Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                        If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                        partner who signs this document.




                                                                                                        Address

                                                                                                        X
                                                                                                        Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                        Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                        not an individual:

                                                                                                        If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                        A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                        or imprisonment or both. 18 U.S.C. §156.
                                                                                                                                   Case 8:14-bk-10619-CPM       Doc 1         Filed 09/10/14      Page 45 of 63
                                                                                                        B8 (Official Form 8) (12/08)


                                                                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                                                                                                       Middle District of Florida
                                                                                                                ALVARO LEONARDO LEON
                                                                                                        In re                                                         ,         Case No.
                                                                                                                                       Debtor                                                     Chapter 7



                                                                                                                                 CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                         PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                         secured by property of the estate. Attach additional pages if necessary.)


                                                                                                           Property No. 1        NO SECURED PROPERTY
                                                                                                          Creditor's Name:                                                 Describe Property Securing Debt:




                                                                                                           Property will be (check one):
                                                                                                                     Surrendered                           Retained

                                                                                                           If retaining the property, I intend to (check at least one):
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                                                                                                                      Redeem the property
                                                                                                                      Reaffirm the debt
                                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
                                                                                                           using 11 U.S.C. §522(f)).

                                                                                                           Property is (check one):
                                                                                                                      Claimed as exempt                                   Not claimed as exempt



                                                                                                           Property No. 2 (if necessary)
                                                                                                          Creditor's Name:                                                 Describe Property Securing Debt:




                                                                                                           Property will be (check one):
                                                                                                                     Surrendered                           Retained

                                                                                                           If retaining the property, I intend to (check at least one):
                                                                                                                      Redeem the property
                                                                                                                      Reaffirm the debt
                                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
                                                                                                           using 11 U.S.C. §522(f)).

                                                                                                           Property is (check one):
                                                                                                                      Claimed as exempt                                   Not claimed as exempt
                                                                                                                                   Case 8:14-bk-10619-CPM           Doc 1      Filed 09/10/14      Page 46 of 63
                                                                                                        B8 (Official Form 8) (12/08)                                                                                    Page 2

                                                                                                            PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                            Each unexpired lease. Attach additional pages if necessary.)



                                                                                                              Property No. 1           NO Leased Property
                                                                                                             Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                 to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                    YES              NO


                                                                                                              Property No. 2 (if necessary)
                                                                                                             Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                 to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                    YES              NO


                                                                                                              Property No. 3 (if necessary)
                                                                                                             Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                 to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                    YES              NO
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                                                                                                              0
                                                                                                             ______ continuation sheets attached (if any)

                                                                                                            I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                            Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                                  09/10/2014
                                                                                                            Date:_____________________________                          /s/ ALVARO LEONARDO LEON
                                                                                                                                                                     Signature of Debtor




                                                                                                                                                                     Signature of Joint Debtor
                                                                                                                                Case 8:14-bk-10619-CPM                      Doc 1     Filed 09/10/14            Page 47 of 63
                                                                                                        B 201B (Form 201B) (12/09)
                                                                                                                                              United States Bankruptcy Court
                                                                                                                                                           Middle District of Florida



                                                                                                        In re   ALVARO LEONARDO LEON                                                                 Case No.
                                                                                                                                  Debtor                                                                                    (If known)



                                                                                                                                CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                                    UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                          Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                                  I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                         debtor the attached notice, as required by § 342(b) of the Bankruptcy Code
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                                                                                                          Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                          Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                                             number of the officer, principal, responsible person,
                                                                                                                                                                                             or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                             (Required by 11 U.S.C. § 110.)

                                                                                                          X
                                                                                                          Signature of Bankruptcy Petition Preparer or officer,
                                                                                                          Principal, responsible person, or partner whose Social
                                                                                                          Security number is provided above.




                                                                                                                                                                   Certification of the Debtor
                                                                                                                   I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                         Code

                                                                                                          ALVARO LEONARDO LEON                                                               X   /s/ ALVARO LEONARDO LEON 09/10/2014
                                                                                                          Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                          Case No. (if known)                                                                X
                                                                                                                                                                                                 Signature of Joint Debtor, (if any)           Date




                                                                                                          Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                          Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                          NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                          the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                          petition preparers on page 3 of Form B1 also include this certification.
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  AES/PHEAA
  1200 NORTH 7TH STREET
  HARRISBURG, PA 17102


  AES/WELLS FARGO
  PO BOX 61047
  HARRISBURG, PA 17106


  BANK OF AMERICA
  PO BOX 982235
  EL PASO, TX 79998


  BANK OF AMERICA
  PO BOX 982235
  EL PASO, TX 79998


  CAP ONE
  PO BOX 5253
  CAROL STREAM, IL 60197


  CAP ONE
  PO BOX 5253
  CAROL STREAM, IL 60197


  CAP1/BSTBY
  PO BOX 5253
  CAROL STREAM, IL 60197


  CBE
  PO BOX 2038
  WATERLOO, IA 50704-2038


  CHASE
  PO BOX 15298
  WILMINGTON, DE 19850


  CHASE
  PO BOX 15298
  WILMINGTON, DE 19850
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  CHASE
  PO BOX 24696
  COLUMBUS, OH 43224


  CHASE-PIER
  PO BOX 15298
  WILMINGTON, DE 19850


  CHASE-TJX
  PO BOX 15298
  WILMINGTON, DE 19850


  CHASE/CC
  PO BOX 15298
  WILMINGTON, DE 19850


  CHASE/CC
  PO BOX 15298
  WILMINGTON, DE 19850


  CITGO/CBNA
  PO BOX 6497
  SIOUX FALLS, SD 57117


  CLAUDIA IANNINI
  P. O. BOX 320763
  TAMPA, FL 33679


  ECHELON RECOVERY
  VORHEES, NJ 08043


  FORD CRED
  PO BOX BOX 542000
  OMAHA, NE 68154


  GROW FINANCIAL CREDIT UNION
  9927 DELANEY LAKE DRIVE
  TAMPA, FL 33619


  GROW FINANCIAL FCU
  425 PHILLIPS BLVD
  EWING, NJ 08618
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  GROW FINANCIAL FCU
  425 PHILLIPS BLVD
  EWING, NJ 08618


  GROW FINANCIAL FCU
  9927 DELANEY LAKE DR
  TAMPA, FL 33619


  GROW FINANCIAL FCU
  9927 DELANEY LAKE DR
  TAMPA, FL 33619


  GROW FINANCIAL FCU
  9927 DELANEY LAKE DR
  TAMPA, FL 33619


  HOME DEPOT /CBNA
  PO BOX 6497
  SIOUX FALLS, SD 57117


  HOME DEPOT /CBNA
  PO BOX 6497
  SIOUX FALLS, SD 57117


  JEFFREY MOUCH ESQ
  KASS SHULER PA
  PO BOX 800
  TAMPA, FL 33601


  KAY JEWELERS
  375 GHENT RD
  FAIRLAWN, OH 44333


  LTD FINANCIAL SERVICES
  7322 SOUTHWEST FREEWAY SUITE 1600
  HOUSTON, TX 77074-2053


  MICHAEL J. STANCO
  TEN LARKFIELD ROAD
  EAST NORTHPORT, NY 11731
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  PORTFOLIO RC
  287 INDEPENDENCE
  VIRGINIA BEACH, VA 23462


  SYNCB/MOHAWK
  PO BOX 981439
  EL PASO, TX 79998


  TARGET NB
  PO BOX 673
  MINNEAPOLIS, MN 55440


  THD/CBNA
  PO BOX 6497
  SIOUX FALLS, SD 57117


  THD/CBNA
  PO BOX 6497
  SIOUX FALLS, SD 57117


  THOMAS GEORGE ASSOCIATES LTD
  P. O. Box 30
  EAST NORTHPORT, NY 11731


  TRAVELERS INSURANCE
  PO BOX 3022
  FALL RIVER, MA 02721


  U S BANK
  101 5TH ST E STE A
  SAINT PAUL, MN 55101


  UNITED RECOVERY SYSTEMS
  P. O. BOX 722929
  HOUSTON, TX 77272-2929



  US BANK
  101 5TH STREET ST E STE. A
  ST. PAUL, MN 55101
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  USF FCU
  13302 NORTH PALM DRIVE
  TAMPA, FL 33612


  USF FED CREDIT UNION
  13302 N USF PALM DR
  TAMPA, FL 33612


  USF FED CREDIT UNION
  13302 N USF PALM DR
  TAMPA, FL 33612


  USF FED CREDIT UNION
  13302 N USF PALM DR
  TAMPA, FL 33612


  VERIZON WIRELESS
  1 VERIZON PLACE
  ALPHARETTA, GA 30004
                                                                                                                                   Case 8:14-bk-10619-CPM                         Doc 1         Filed 09/10/14              Page 53 of 63
                                                                                                        B203
                                                                                                        12/94
                                                                                                                                                  United States Bankruptcy Court
                                                                                                                                                                       Middle District of Florida
                                                                                                                In re ALVARO LEONARDO LEON                                                                Case No. ____________________
                                                                                                                                                                                                          Chapter           7
                                                                                                                                                                                                                       ____________________
                                                                                                                Debtor(s)
                                                                                                                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                        1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                                and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                                rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                              999.00
                                                                                                                For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                                  999.00
                                                                                                                Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                                0.00
                                                                                                                Balance Due ......................................……………………………………….................... $ ______________

                                                                                                        2.      The source of compensation paid to me was:

                                                                                                                                 Debtor                   Other (specify)
                                                                                                        3.      The source of compensation to be paid to me is:
                                                                                                                                 Debtor                   Other (specify)

                                                                                                        4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
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                                                                                                        associates of my law firm.

                                                                                                                   I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                        of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                        5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                                 b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                                 c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                                         6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                                         REPRESENTATION IN ADVERSARY PROCEEDINGS OR ANY CONTESTED MATTERS




                                                                                                                                                                                   CERTIFICATION

                                                                                                                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                     debtor(s) in the bankruptcy proceeding.


                                                                                                                        09/10/2014
                                                                                                                     ____________________________________                                   /s/ Walter Sowa, III, Esq.
                                                                                                                                                                                          __________________________________________________
                                                                                                                                    Date                                                                    Signature of Attorney

                                                                                                                                                                                            Law Office of Walter Sowa, III
                                                                                                                                                                                          __________________________________________________
                                                                                                                                                                                                           Name of law firm
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                                                                                                                                                                          According to the information required to be entered on this statement
                                                                                                                                                                          (check one box as directed in Part I, III, or VI of this statement):
                                                                                                         In re ALVARO LEONARDO LEON                                                     The presumption arises.
                                                                                                                                   Debtor(s)                                            The presumption does not arise.
                                                                                                                                                                                        The presumption is temporarily inapplicable.
                                                                                                         Case Number:
                                                                                                                                   (If known)

                                                                                                                                   CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                                              AND MEANS-TEST CALCULATION
                                                                                                        In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
                                                                                                        in Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should
                                                                                                        complete separate statements if they believe this is required by §707(b)(2)(C).

                                                                                                                                               Part I. MILITARY AND NON-CONSUMER DEBTORS
                                                                                                                Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
                                                                                                                beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
                                                                                                                complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                        1A
                                                                                                                    Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
                                                                                                                veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
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                                                                                                                active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
                                                                                                                U.S.C. §901(1)).

                                                                                                                Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
                                                                                                                verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                         1B
                                                                                                                    Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                                Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                                of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                                § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                                (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                                time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                                this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                                Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                                top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                                to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
                                                                                                                your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
                                                                                                                case before your exclusion period ends.

                                                                                                                    Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                                                        1C      below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                                component of the Armed Forces or the National Guard

                                                                                                                                  a.        I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                                    I remain on active duty /or/
                                                                                                                                                    I was released from active duty on ________________, which is less than 540 days before
                                                                                                                                  this bankruptcy case was filed;
                                                                                                                                           OR

                                                                                                                                  b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                                          I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                                  _______________, which is less than 540 days before this bankruptcy case was filed.
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                                                                                                                          Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION

                                                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                                              a.   Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                                              b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                                   penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                                                                                                                   are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                                                   Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                                        2     c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                                   Column A (“Debtor’s Income”) and Column B (Spouse’s Income) for Lines 3-11.
                                                                                                              d.   Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                                                   for Lines 3-11.

                                                                                                               All figures must reflect average monthly income received from all sources, derived during
                                                                                                               the six calendar months prior to filing the bankruptcy case, ending on the last day of the          Column A       Column B
                                                                                                               month before the filing. If the amount of monthly income varied during the six months, you          Debtor’s       Spouse’s
                                                                                                               must divide the six-month total by six, and enter the result on the appropriate line.                Income         Income
                                                                                                         3     Gross wages, salary, tips, bonuses, overtime, commissions.                                      $       0.00   $       N.A.
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                                                                                                               Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                                               and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
                                                                                                               business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                                               Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                                         4     entered on Line b as a deduction in Part V.
                                                                                                                   a.      Gross receipts                                    $                       0.00
                                                                                                                   b.      Ordinary and necessary business expenses          $                       0.00
                                                                                                                   c.      Business income                                   Subtract Line b from Line a       $       0.00   $       N.A.
                                                                                                              Rent and other real property income. Subtract Line b from Line a and enter the difference
                                                                                                              in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
                                                                                                              any part of the operating expenses entered on Line b as a deduction in Part V.
                                                                                                         5         a.      Gross receipts                                    $                     200.00
                                                                                                                   b.      Ordinary and necessary operating expenses         $                     50.00
                                                                                                                   c.      Rent and other real property income               Subtract Line b from Line a       $              $
                                                                                                                                                                                                                     150.00           N.A.
                                                                                                         6    Interest, dividends and royalties.                                                               $       0.00   $       N.A.
                                                                                                         7    Pension and retirement income.                                                                   $       0.00   $       N.A.
                                                                                                               Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                               expenses of the debtor or the debtor’s dependents, including child support paid for that
                                                                                                         8     purpose. Do not include alimony or separate maintenance payments or amounts paid by
                                                                                                               your spouse if Column B is completed. Each regular payment should be reported in only one
                                                                                                               column; If a payment is listged in Column A, do not report that payment in Column B.            $      78.33   $       N.A.
                                                                                                              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                                              However, if you contend that unemployment compensation received by you or your spouse
                                                                                                              was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                        9
                                                                                                              Column A or B, but instead state the amount in the space below:
                                                                                                               Unemployment compensation claimed to be
                                                                                                               a benefit under the Social Security Act         Debtor $       0.00     Spouse $   N.A.         $              $
                                                                                                                                                                                                                       0.00           N.A.
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                                                                                                               Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                               sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                                               paid by your spouse if Column B is completed, but include all other payments of
                                                                                                               alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                                        10     Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                                               victim of international or domestic terrorism.
                                                                                                                  a.                                                                       $       750.00
                                                                                                                  b.                                                                         $           0.00
                                                                                                                  Total and enter on Line 10                                                                      $     750.00   $          N.A.
                                                                                                               Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
                                                                                                        11     and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).             $     978.33   $          N.A.
                                                                                                              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                                        12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                              completed, enter the amount from Line 11, Column A.                                                                      978.33
                                                                                                                                                                                                                  $
                                                                                                                                            Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                                        13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
                                                                                                                                                                                                                                 $ 11,739.96
                                                                                                               12 and enter the result.
                                                                                                               Applicable median family income. Enter the median family income for the applicable state and household
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                                                                                                        14     size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
                                                                                                               bankruptcy court.)

                                                                                                                                                      Florida
                                                                                                               a. Enter debtor’s state of residence: _______________                                       1
                                                                                                                                                                     b. Enter debtor’s household size: __________                $ 41,334.00

                                                                                                               Application of Section 707(b)(7). Check the applicable box and proceed as directed.

                                                                                                        15             The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does not
                                                                                                                       arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                                                                                                                       The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.


                                                                                                                            Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).

                                                                                                                            Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

                                                                                                        16     Enter the amount from Line 12.                                                                                    $          N.A.

                                                                                                               Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
                                                                                                               Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                                                               debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
                                                                                                               payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
                                                                                                               dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
                                                                                                               a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                                        17

                                                                                                                a.                                                                          $
                                                                                                                b.                                                                          $
                                                                                                                c.                                                                          $

                                                                                                              Total and enter on Line 17.                                                                                        $          N.A.

                                                                                                        18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                        $          N.A.
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                                                                                                                                      Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                                             Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                                                              National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
                                                                                                              National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
                                                                                                        19A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
                                                                                                              number of person is the number that would currently be allowed as exemptions on your federal income tax
                                                                                                              return, plus the number of any additional dependents whom you support.                                             $   N.A.

                                                                                                               National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                                               of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                                                               Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                                               www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                                               persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                                               years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                                               that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                                        19B    additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                                               under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons
                                                                                                               65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                                               enter the result in Line 19B.
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                                                                                                                Persons under 65 years of age                          Persons 65 years of age or older
                                                                                                                a1.      Allowance per person                  N.A.    a2.     Allowance per person              N.A.
                                                                                                                b1.      Number of persons                      N.A.   b2.     Number of persons
                                                                                                                c1.      Subtotal                              N.A.    c2.     Subtotal                          N.A.            $
                                                                                                                                                                                                                                     N.A.
                                                                                                              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                                                            Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                                        20A available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable family size
                                                                                                            consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                            the number of any additional dependents whom you support.                                                            $   N.A.

                                                                                                               Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
                                                                                                               Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                                                               information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
                                                                                                               family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                                                               tax return, plus the number of any additional dependents whom you support); enter on Line b the total of the
                                                                                                        20B    Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
                                                                                                               Line a and enter the result in Line 20B. Do not enter an amount less than zero.


                                                                                                               a.     IRS Housing and Utilities Standards; mortgage/rental expense        $                         N.A.
                                                                                                               b.     Average Monthly Payment for any debts secured by your
                                                                                                                      home, if any, as stated in Line 42                                   $                        N.A.
                                                                                                               c.     Net mortgage/rental expense                                         Subtract Line b from Line a                N.A.
                                                                                                                                                                                                                                 $

                                                                                                               Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                                                                                                               20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                                               Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                                               your contention in the space below:
                                                                                                        21

                                                                                                                                                                                                                                     N.A.
                                                                                                                                                                                                                                 $
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                                                                                                              Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                                                              an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                                              regardless of whether you use public transportation.
                                                                                                              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
                                                                                                              are included as a contribution to your household expenses in Line 8.
                                                                                                        22A          0    1    2 or more.
                                                                                                              If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                              Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                                              Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                              Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                                              the bankruptcy court.)                                                                                          $   N.A.

                                                                                                            Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                                            expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                                        22B additional deduction for your public transportation expenses, enter on Line 22B the "Public Transportation"
                                                                                                            amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
                                                                                                                                                                                                                              $   N.A.
                                                                                                            the clerk of the bankruptcy court.)
                                                                                                            Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                                            which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                                            two vehicles.)
                                                                                                                1         2 or more.
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                                                                                                            Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                            (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                            Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
                                                                                                         23 Line a and enter the result in Line 23. Do not enter an amount less than zero.

                                                                                                                a.       IRS Transportation Standards, Ownership Costs                      $                        N.A.
                                                                                                                         Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                                b.                                                                          $                        N.A.
                                                                                                                         as stated in Line 42
                                                                                                                c.       Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.      $   N.A.
                                                                                                              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                              only if you checked the “2 or more” Box in Line 23.
                                                                                                              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                              Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
                                                                                                              Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                                        24      a.     IRS Transportation Standards, Ownership Costs                      $                        N.A.
                                                                                                                         Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                               b.                                                                           $
                                                                                                                         as stated in Line 42                                                                       N.A.
                                                                                                               c.        Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.       $   N.A.
                                                                                                              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                                                        25    federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                              taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                    $   N.A.

                                                                                                              Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                                         26   payroll deductions that are required for your employment, such as retirement contributions, union dues, and     $
                                                                                                              uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                        N.A.
                                                                                                              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                                        27    term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
                                                                                                              life or for any other form of insurance.                                                                     $      N.A.
                                                                                                               Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                                                               required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                                                         28                                                                                                                $      N.A.
                                                                                                               payments. Do not include payments on past due obligations included in Line 44.
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                                                                                                              Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                                        29    Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                                                              employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                                                                                                                                        $         N.A.
                                                                                                              whom no public education providing similar services is available.
                                                                                                              Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                                        30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other                           $
                                                                                                              educational payments.                                                                                                               N.A.
                                                                                                              Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                                        31    on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                                                              reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                                                              Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.                      $         N.A.
                                                                                                              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                                              actually pay for telecommunication services other than your basic home telephone and cell phone service—
                                                                                                        32    such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                                              your health and welfare or that of your dependents. Do not include any amount previously deducted.                        $         N.A.

                                                                                                        33      Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                                      $         N.A.

                                                                                                                                                Subpart B: Additional Living Expense Deductions
                                                                                                                                       Note: Do not include any expenses that you have listed in Lines 19-32.
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                                                                                                              Health Insurance, Disability Insurance and Health Savings Account Expenses. List the monthly
                                                                                                              expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
                                                                                                              or your dependents.
                                                                                                                  a.     Health Insurance                                                    $                      N.A.
                                                                                                                  b.      Disability Insurance                                                    $                        N.A.
                                                                                                                  c.      Health Savings Account                                                  $                        N.A.
                                                                                                        34
                                                                                                              Total and enter on Line 34.                                                                                                $        N.A.
                                                                                                              If you do not actually expend this total amount, state your actual average expenditures in the space
                                                                                                              below:
                                                                                                                  $          N.A.

                                                                                                              Continued contributions to the care of household or family members. Enter the total average actual
                                                                                                        35    monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                              elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                                                                                                                                                        $         N.A.
                                                                                                              unable to pay for such expenses.
                                                                                                              Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                                                              you actually incurred to maintain the safety of your family under the Family Violence Prevention and
                                                                                                        36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                                                                                                                                                                                        $         N.A.
                                                                                                              confidential by the court.
                                                                                                              Home energy costs Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                                                        37    Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                              provide your case trustee with documentation of your actual expenses, and you must demonstrate that                                 N.A.
                                                                                                                                                                                                                                        $
                                                                                                              the additional amount claimed is reasonable and necessary.
                                                                                                              Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                                              expenses that you actually incur, not to exceed $156.25* per child, for attendance at a private or public
                                                                                                        38    elementary or secondary school by your dependent children less than 18 years of age. You must provide
                                                                                                              your case trustee with documentation of your actual expenses and you must explain why the amount                          $         N.A.
                                                                                                              claimed is reasonable and necessary and not already accounted for in the IRS Standards.
                                                                                                        *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                                                                                                                       7


                                                                                                              Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                                              clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                                        39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                                              additional amount claimed is reasonable and necessary.                                                              $   N.A.

                                                                                                              Continued charitable contributions. Enter the amount that you will continue to contribute in the form
                                                                                                        40
                                                                                                              of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170 (c)(1)-(2)              $   N.A.

                                                                                                        41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.
                                                                                                                                                                                                                                  $   N.A.

                                                                                                                                                  Subpart C: Deductions for Debt Payment

                                                                                                              Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                                              you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
                                                                                                              Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
                                                                                                              total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                                              filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
                                                                                                              the total Average Monthly payments on Line 42.

                                                                                                        42                                                                                       Average
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                                                                                                                           Name of                        Property Securing the Debt                            Does payment
                                                                                                                                                                                                 Monthly
                                                                                                                           Creditor                                                                            include taxes or
                                                                                                                                                                                                 Payment
                                                                                                                                                                                                                  insurance?
                                                                                                                a.                                                                           $                      yes     no
                                                                                                                b.                                                                           $                      yes     no
                                                                                                                c.                                                                            $                     yes     no
                                                                                                                                                                                            Total: Add Lines
                                                                                                                                                                                            a, b and c                            $   N.A.

                                                                                                              Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary
                                                                                                              residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                                                              you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
                                                                                                              in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
                                                                                                              amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
                                                                                                              List and total any such amounts in the following chart. If necessary, list additional entries on a separate
                                                                                                              page.
                                                                                                        43                 Name of                             Property Securing the Debt        1/60th of the Cure Amount
                                                                                                                           Creditor
                                                                                                                a.                                                                               $
                                                                                                                b.
                                                                                                                                                                                                 $
                                                                                                                c.                                                                               $
                                                                                                                                                                                                                                  $   N.A.

                                                                                                             Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
                                                                                                        44   as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
                                                                                                             filing. Do not include current obligations, such as those set out in Line 28.                                $           N.A.
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                                                                                                                                                                                                                                                      8

                                                                                                               Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
                                                                                                               following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
                                                                                                               expense.
                                                                                                                a.        Projected average monthly Chapter 13 plan payment.                             $             N.A.
                                                                                                                          Current multiplier for your district as determined under schedules issued
                                                                                                                b.        by the Executive Office for United States Trustees. (This information is
                                                                                                         45
                                                                                                                          available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy            x              N.A.
                                                                                                                          court.)
                                                                                                                c.        Average monthly administrative expense of Chapter 13 case                      Total: Multiply Lines
                                                                                                                                                                                                         a and b                      $            N.A.
                                                                                                        46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                             $            N.A.
                                                                                                                                                    Subpart D: Total Deductions from Income
                                                                                                        47 Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                $            N.A.
                                                                                                                                      Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                                        48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $            N.A.
                                                                                                        49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $            N.A.
                                                                                                        50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                           $            N.A.
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                                                                                                              60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
                                                                                                        51    enter the result.                                                                                                       $            N.A.
                                                                                                              Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                                  The amount on Line 51 is less than $7,475*. Check the box for “The presumption does not arise” at the top of page 1
                                                                                                                  of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                                                        52        The amount set forth on Line 51 is more than $12,475*. Check the “Presumption arises” box at the top of
                                                                                                                  page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                                  the remainder of Part VI.
                                                                                                                  The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines
                                                                                                                  53 through 55).
                                                                                                        53    Enter the amount of your total non-priority unsecured debt                                                              $           N.A.

                                                                                                         54 Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $                  N.A.
                                                                                                            Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                                               The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the
                                                                                                               top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                                         55
                                                                                                               The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                                                                                                               arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                                                                                                               VII.

                                                                                                                                                Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                                              and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
                                                                                                              under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
                                                                                                              monthly expense for each item. Total the expenses.
                                                                                                                                                  Expense Description                                                    Monthly Amount
                                                                                                         56          a.                                                                                            $                N.A.
                                                                                                                     b.                                                                                            $                      N.A.
                                                                                                                     c.                                                                                            $                      N.A.
                                                                                                                                                                     Total: Add Lines a, b and c                                          N.A.
                                                                                                        *Amounts are subject to adjustment on 4/1/2016, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                                           Part VIII: VERIFICATION
                                                                                                              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                              both debtors must sign.)
                                                                                                                   Date: 09/10/2014                           Signature:         /s/ ALVARO LEONARDO LEON
                                                                                                                                                                                     (Debtor)
                                                                                                        57
                                                                                                                    Date:                                      Signature:
                                                                                                                                                                                    (Joint Debtor, if any)
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                                                                                                                                                Form 22 Continuation Sheet
                                                                                                        Income Month 1                                            Income Month 2


                                                                                                        Gross wages, salary, tips...              0.00     0.00   Gross wages, salary, tips...                    0.00   0.00
                                                                                                        Income from business...                   0.00     0.00   Income from business...                         0.00   0.00
                                                                                                        Rents and real property income...       100.00     0.00   Rents and real property income...          150.00      0.00
                                                                                                        Interest, dividends...                    0.00     0.00   Interest, dividends...                          0.00   0.00
                                                                                                        Pension, retirement...                    0.00     0.00   Pension, retirement...                          0.00   0.00
                                                                                                        Contributions to HH Exp...               30.00     0.00   Contributions to HH Exp...                     80.00   0.00
                                                                                                        Unemployment...                           0.00     0.00   Unemployment...                                 0.00   0.00
                                                                                                        Other Income...                         600.00     0.00   Other Income...                            700.00      0.00



                                                                                                        Income Month 3                                            Income Month 4


                                                                                                        Gross wages, salary, tips...              0.00     0.00   Gross wages, salary, tips...                    0.00   0.00
                                                                                                        Income from business...                   0.00     0.00   Income from business...                         0.00   0.00
                                                                                                        Rents and real property income...       150.00     0.00   Rents and real property income...          200.00      0.00
                                                                                                        Interest, dividends...                    0.00     0.00   Interest, dividends...                          0.00   0.00
                                                                                                        Pension, retirement...                    0.00     0.00   Pension, retirement...                          0.00   0.00
                                                                                                        Contributions to HH Exp...               80.00     0.00   Contributions to HH Exp...                 100.00      0.00
                                                                                                        Unemployment...                           0.00     0.00   Unemployment...                                 0.00   0.00
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                                                                                                        Other Income...                         900.00     0.00   Other Income...                           1,000.00     0.00


                                                                                                        Income Month 5                                            Income Month 6


                                                                                                        Gross wages, salary, tips...              0.00     0.00   Gross wages, salary, tips...                    0.00   0.00
                                                                                                        Income from business...                   0.00     0.00   Income from business...                         0.00   0.00
                                                                                                        Rents and real property income...       150.00     0.00   Rents and real property income...          150.00      0.00
                                                                                                        Interest, dividends...                    0.00     0.00   Interest, dividends...                          0.00   0.00
                                                                                                        Pension, retirement...                    0.00     0.00   Pension, retirement...                          0.00   0.00
                                                                                                        Contributions to HH Exp...               80.00     0.00   Contributions to HH Exp...                 100.00      0.00
                                                                                                        Unemployment...                           0.00     0.00   Unemployment...                                 0.00   0.00
                                                                                                        Other Income...                         600.00     0.00   Other Income...                            700.00      0.00



                                                                                                                                            Additional Items as Designated, if any




                                                                                                                                                          Remarks
